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 1                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 2                                           AT TACOMA

 3    UNITED STATES OF AMERICA,
 4                    Plaintiff,
                                                                   Case No. CR05-5828FDB
 5            v.
                                                                   ORDER DENYING DEFENDANT’S
 6    BRIANA WATERS,                                               MOTION FOR STATUS
                                                                   CONFERENCE RE DISCOVERY
 7                    Defendant.
 8
            Defendant Waters moves for a discovery status conference “to address several outstanding
 9
     issues regarding discovery and to help establish a structure to expedite preparing this case for trial.
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     The Government has responded (suggesting a date for such conference) indicating that it anticipates
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     that discovery will be completed, or substantially completed, by the end of the first week in January
12
     2007, and states that to the extent that it is unwilling to produce specific items identified in Waters’
13
     motion, the Government will notify Waters of that fact.
14
            This matter’s trial date is May 7, 2007 and the motions deadline is February 6, 2007. The
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     Court declines to schedule a status conference regarding discovery, as such is premature now. Since
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     discovery is anticipated to be complete at the end of the first week of January 2007, and since the
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     Government will advise Defendant what it is unwilling to produce, there will be time for Defendant
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     to bring any motion related to discovery before the cut-off date.
19
            IT IS ORDERED: Defendant’s Motion for Status Conference To Address Discovery Issues
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     [Dkt. # 59] is DENIED.
21
            DATED this 4th day of December, 2006.



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24                                          FRANKLIN D. BURGESS
                                            UNITED STATES DISTRICT JUDGE
25

26   ORDER - 1
